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 1   CLEMENTE M. JIMÉNEZ, ESQ.
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     (916) 443-8055
 4
 5   Attorney for JAMES BRADLEY
 6
                                   UNITED STATES DISTRICT COURT
 7
                                   EASTERN DISTRICT OF CALIFORNIA
 8
 9
10   UNITED STATES OF AMERICA,                      Case No.: 2:12-CR-080 TLN

11                    Plaintiff,                    STIPULATION AND ORDER
12                                                  VACATING DATE, CONTINUING
                vs.                                 CASE, AND EXCLUDING TIME
13
14   JAMES BRADLEY,                                 DATE: October 22, 2015
                                                    TIME: 9:30 a.m.
15                    Defendant.                    JUDGE: Hon. Troy L. Nunley
16
17              IT IS HEREBY STIPULATED by and between Assistant United States Attorney,
18   Heiko Coppola, Counsel for Plaintiff, and Attorney Clemente M. Jiménez, Counsel for
19   Defendant JAMES BRADLEY, that the status conference scheduled for October 22,
20   2015, at 9:30 a.m., be vacated and the matter continued to this Court’s criminal calendar
21   on October 29, 2015, at 9:30 a.m. for further status conference and anticipated change of
22   plea. The government has presented counsel with a revised plea agreement and will
23   require additional time to review it with Mr. Bradley, who lives in the Bay Area.
24              IT IS FURTHER STIPULATED that time within which the trial of this case must
25   be commenced under the Speedy Trial Act, 18 U.S.C. Section 3161 et seq. be excluded
26   from computation of time pursuant to Section 3161(h)(7)(A) and (B)(iv), (Local code T-
27   4), and that the ends of justice served in granting the continuance and allowing the
28




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 1   defendant further time to prepare outweigh the best interests of the public and the
 2   defendant to a speedy trial.
 3
 4   DATED:           October 20, 2015           /S/   Heiko Coppola______________
                                                 BENJAMIN B. WAGNER
 5
                                                 by HEIKO COPPOLA
 6                                               Attorney for Plaintiff
 7
 8                                               /S/   Clemente M. Jiménez________
                                                 CLEMENTE M. JIMÉNEZ
 9                                               Attorney for James Bradley
10
11
12
13                                              ORDER
14
                IT IS SO ORDERED, that the status conference in the above-entitled matter,
15
     scheduled for October 22, 2015, at 9:30 a.m., be vacated and the matter continued to
16
     October 29, 2015, at 9:30 a.m., for further status conference. The Court finds that time
17
     under the Speedy Trial Act shall be excluded through that date in order to afford counsel
18
     reasonable time to prepare. Based on the parties’ representations, the Court finds that the
19
     ends of justice served by granting a continuance outweigh the best interests of the public
20
     and the defendants to a speedy trial.
21
22   This 20th day of October, 2015
23
                                                           Troy L. Nunley
24                                                         United States District Judge
25
26
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     10/20/15
